




Dismissed and Memorandum Opinion filed August 28, 2008








Dismissed
and Memorandum Opinion filed August 28, 2008.

&nbsp;

In The

&nbsp;

Fourteenth Court of
Appeals

____________

&nbsp;

NO. 14-08-00647-CV

____________

&nbsp;

SAMUEL REYES and IGLESIA DE DIOS
PENTECOSTAL CHURCH, Appellants

&nbsp;

V.

&nbsp;

RANDY CUPIT, Appellee

&nbsp;



&nbsp;

On Appeal from the
County Civil Court at Law No. 4

Harris County,
Texas

Trial Court Cause
No. 842629

&nbsp;



&nbsp;

M E M O R A N D U M&nbsp;&nbsp; O P I N I O N

This is
an appeal from a judgment signed April 8, 2008.&nbsp; On August 22, 2008, appellant
filed a motion to dismiss the appeal.&nbsp; See Tex. R. App. P. 42.1.&nbsp; The motion is granted.

Accordingly,
the appeal is ordered dismissed.

PER
CURIAM

Judgment rendered and Memorandum Opinion filed August
28, 2008.

Panel consists of Justices Yates, Seymore, and Boyce. 





